         Case 2:21-cv-04920-WLH-ADS                        Document 2               Filed 06/17/21       Page 1 of 1 Page ID
                                                                #:180
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                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
Serena Fleites and Jane Doe Nos. 1 through 33,                                CASE NUMBER:


                                                                                                      2:21-cv-4920
                                                              Plaintiff(s),
                                     v.
MindGeek S.A.R.L., et al.,
                                                                                             CERTIFICATION AND NOTICE
                                                                                               OF INTERESTED PARTIES
                                                             Defendant(s)                          (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                Plaintiffs Serena Fleites and Jane Doe Nos. 1 through 33
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                        PARTY                                                           CONNECTION / INTEREST
SERENA FLEITES                                                                Plaintiff
JANE DOE NOS. 1 through 33                                                    Plaintiffs
MINDGEEK S.A.R.L.                                                             Defendant
MG FREESITES, LTD.                                                            Defendant
MINDGEEK USA INCORPORATED                                                     Defendant
MG PREMIUM LTD.                                                               Defendant
RK HOLDINGS USA INC.                                                          Defendant
MG GOLBAL ENTERTAINMENT INC.                                                  Defendant
TRAFFICJUNKY INC.                                                             Defendant
BERND BERGMAIR                                                                Defendant
FERAS ANTOON                                                                  Defendant
DAVID TASSILLO                                                                Defendant
[Parties continued on additional page, Appendix A]


         June 17, 2021                                     /s/ Michael J. Bowe
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           PLAINTIFFS


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
